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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           DEC 8 2020
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
JENNY LISETTE FLORES,                            No.    17-56297

                Plaintiff-Appellee,              D.C. No.
                                                 2:85-cv-04544-DMG-AGR
  v.                                             Central District of California,
                                                 Los Angeles
WILLIAM P. BARR, Attorney General;
ELAINE C. DUKE, Acting Secretary of              ORDER
Homeland Security; U.S. DEPARTMENT
OF HOMELAND SECURITY; U.S.
IMMIGRATION AND CUSTOMS
ENFORCEMENT; U.S. CUSTOMS AND
BORDER PROTECTION,

                Defendants-Appellants.

Before: W. FLETCHER, BERZON, and M. SMITH, Circuit Judges.

       The stay of the deadline for Appellants’ response to Appellees’ motion for

attorney’s fees is lifted. Appellants shall file a response to the motion for attorney’s

fees by December 18, 2020.
